
 1  The People of the State of Colorado, Appellee,  In the Interest of G.M. and A.M., Children,  and  Concerning B.M., Appellant. No. 21CA0465Court of Appeals of Colorado, Fourth DivisionJanuary 20, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                Mesa
      County District Court No. 19JV198 Honorable Lance P.
      Timbreza, Judge
    
    
               
      OPINION
    
    
               
      RICHMAN JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Tow
      and Grove, JJ ., concur
    
    